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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


  TIMOTHY BOZUNG, individually and on
  behalf of all others similarly situated,      Case No. 1:22-cv-00304-HYJ-RSK

                                                Honorable Hala Y. Jarbou
                    Plaintiff,
                                                PLAINTIFF’S MOTION
        v.
                                                JURY TRIAL DEMANDED
  CHRISTIANBOOK, LLC f/k/a
  CHRISTIAN BOOK DISTRIBUTORS
  CATALOG, LLC,


                    Defendant.

   PLAINTIFF’S MOTION FOR LEAVE TO FILE A REPLY IN SUPPORT
      OF PLAINTIFF’S MOTION FOR RELIEF FROM JUDGMENT
   PURSUANT TO FED. R. CIV. P. 59(e) & FED. R. CIV. P. 60(b) AND FOR
          LEAVE TO FILE SECOND AMENDED COMPLAINT
                PURSUANT TO FED. R. CIV. P. 15(a)




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        Plaintiff Timothy Bozung, individually and on behalf of all others similarly

 situated, files this Motion for Leave to File a Reply in Support of his Motion for

 Relief From Judgment pursuant to Federal Rules of Civil Procedure 59(e) and 60(b),

 and for Leave to File a Second Amended Complaint pursuant to Federal Rule of

 Civil Procedure 15(a):

        1.    On March 6, 2023, the Court issued its Order granting Defendant’s

  Motion to Dismiss, ECF No. 52, and entered a Judgment dismissing the Complaint

  without prejudice. ECF No. 53.

        2.    On March 14, 2023, Plaintiff filed his Motion for Relief From Judgment

  pursuant to Federal Rules of Civil Procedure 59(e) and 60(b), and for Leave to File

  a Second Amended Complaint pursuant to Federal Rule of Civil Procedure 15(a).

  ECF Nos. 58, 59; Plaintiff included as Exhibit 1 thereto Plaintiff’s proposed Second

 Amended Class Action Complaint.

        3.    As described in Plaintiff’s above Motion, Plaintiff has uncovered

 additional factual information that further bolsters the central allegations that

 Defendant disclosed its Michigan customers’ Private Reading, Listening, and

 Viewing Information during the relevant time period in violation of the Michigan

 PPPA.

        4.    On April 4, 2023, Defendant filed its Response in Opposition to

 Plaintiff’s Motion for Relief From Judgment pursuant to Federal Rules of Civil


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 Procedure 59(e) and 60(b), and for Leave to File a Second Amended Complaint

 pursuant to Federal Rule of Civil Procedure 15(a). See ECF No. 70.

       5.     Plaintiff seeks leave of the Court to file Plaintiff’s proposed Reply brief

 so that Plaintiff may properly address contentions raised in Defendant’s Response

 brief and to provide the Court with a fuller picture regarding the contentions that

 Defendant raises.

       6.     Attached as Exhibit I hereto is Plaintiff’s proposed Reply brief in

 Support of Plaintiff’s Motion for Relief From Judgment pursuant to Federal Rules

 of Civil Procedure 59(e) and 60(b), and for Leave to File a Second Amended

 Complaint pursuant to Federal Rule of Civil Procedure 15(a); the proposed Reply

 brief contains 4,296 words.

       7.     On May 3, 2023, counsel for Plaintiff contacted counsel for Defendant

 regarding concurrence in this Motion. On May 4, 2023, counsel for Defendant

 communicated to counsel for Plaintiff that Defendant does not oppose Plaintiff’s

 Motion for Leave to File a Reply.

       WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff’s

 request herein, granting Plaintiff leave to file Plaintiff’s proposed Reply in support

 of Plaintiff’s request for relief from judgment pursuant to Fed. R. Civ. P. 59(e) and/or

 Fed. R. Civ. P. 60(b), and leave to file the proposed Second Amended Complaint

 pursuant to Federal Rule of Civil Procedure 15(a).


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  Dated: May 4, 2023                Respectfully submitted,
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                           CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2023, I electronically filed the foregoing

 documents using the Court’s electronic filing system, which will notify all counsel

 of record authorized to receive such filings.


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